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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :      Magistrate #:_______________
                       v.                            :
Ruben A. Verastigui,                                        :
                                                     :
                              Defendant.             :


                                 STATEMENT OF OFFENSE
        IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT
       I, Special Agent with Homeland Security Investigations Raymond Abruzzese, being duly

sworn, do hereby state the following:

                                        I.   INTRODUCTION

1.     I have been employed as a Special Agent of the U.S. Department of Homeland

Security, Homeland Security Investigations (“HSI”) since in or around March 2003 and I am

currently assigned to the Child Exploitation Unit in Dulles, Virginia. While employed by HSI, I

have investigated federal criminal violations related to high technology or cybercrime, child

exploitation, and child pornography, as well as commercial fraud and immigration fraud. I have

gained experience through everyday work relating to conducting these types of investigations. I

also have received training in the area of child pornography and child exploitation and have had

the opportunity to observe and review numerous examples of child pornography (as defined in

18 U.S.C. § 2256(8)) including computer media. Due to my experience and training, I can

identify child pornography when I see it. Moreover, I am a federal law enforcement officer who




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enforces federal criminal laws, including 18 U.S.C. §§ 2252A(a)(5)(B) and 2252(a)(2), and I am

authorized by law to request an arrest warrant.

2.     This affidavit is made in support of an application for a criminal complaint and arrest

warrant for Ruben Verastigui (date of birth           /1993) for violations of 18 U.S.C. §

2252A(a)(2) (receipt of child pornography) and 18 U.S.C. § 2252A(a)(5)(B) (possession of child

pornography).

3.     The statements contained in this affidavit are based in part on my own investigation, as

well as upon information provided by other Special Agents of Homeland Security and law

enforcement     officers;   independent   investigation   and   analysis   by   law    enforcement

officers/analysts; and my experience, training and background. Because this affidavit is being

submitted for the limited purpose of securing authorization for the requested arrest warrant, I have

not included each and every fact known to me concerning this investigation. Instead, I have set

forth only the facts that I believe are necessary to establish probable cause that Verastigui has

violated 18 U.S.C. §§ 2252A(a)(2) and 2252A(a)(5)(B).

                                   II.    PROBABLE CAUSE

4.     On or about June 12, 2020, HSI Special Agents began investigating a group of

individuals who were trading child pornography on a particular website, hereinafter Application

A. 1 HSI recovered chat messages from this particular group after executing search warrants to

recover several group members’ electronic devices. These chats revealed that the group had at

least 18 members, one of which was an individual using the display name “Landon” and the

username @somethingtaken.



1
  The true name of the website is known to law enforcement but not revealed to protect the
integrity of the ongoing investigation.
                                                  2
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5.      Your affiant identified “Landon” @somethingtaken as Ruben Verastigui a resident of

       Florida Avenue NE Washington, DC.

6.      A review of the group chat conducted by HSI Special Agent Fry revealed Verastigui had

a chat conversation with S-1 2 on or about April 13, 2020. A portion of the chat conversation is

as follows:

S-1:                  So you like babies, huh

Verastigui 3:         my absolute favorite

S-1:                  Fuck yeah. How dark are you? What are u into?

Verastigui:           Well like I said babies are some of my biggest turn-ons and beast

Verastigui:           Young rape…

Verastigui:           Fuck I love all that

Verastigui:           I have been wanting to see videos of guys hardcore rapping a baby..when

                      a baby screams it’s my favorite

Verastigui:           I’ve lost a lot of videos so only have one I’ve been jerking off to.

S-1:                  Which one?

Verastigui:           The ginger guy fucked the baby…have any good ones?




2
  S-1’s identity is known to law enforcement.
3
  Your affiant has substituted Verastigui for @somethingtaken (aka Landon) in the chats and
messages on Application A for ease of reading. The chats/Application A content did not actually
include the name Verastigui.
                                                3
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S-1:                   S-1 sends Verastigui a video file depicting a red headed adult male

                       sexually penetrating an infant/toddler.


Verastigui:            FUCK YES!!!


S-1 sends Verastigui a few additional video files also depicting during this chat conversation.

Your affiant viewed a screen print of the video files and determined the videos contained child

pornography. One of the videos as depicts an infant/toddler and an adult male. The adult male

puts his erect penis on the infant/toddler’s mouth and lips. During this chat conversation,

Verastigui requests that S-1 come to DC for the purpose of sexually abusing a minor.

10.    On or about April 14, 2020, S-1 and Verastigui had another chat conversation. During this

chat conversation S-1 sent Verastigui approximately nine (9) video files. Your affiant viewed

screen prints of these video files and determined the video files depict child pornography. One of

the video files depicts an infant/toddler who is anally raped by an adult male.

11.    In or about April 2020, Verastigui sends S-1 images of himself standing naked in what

appears to be a bathroom. Verastigui was holding a phone in a grey colored case in his right hand.

Your affiant reviewed this image and observed Verastigui has a tattoo of what appears to be words

written in script on his left forearm. Your affiant further observed items in the bathroom such as

the color of the sink countertop, the faucet color and a picture leaning up against the wall. Your

affiant reviewed an image file posted on Verastigui’s Instagram account. This image depicted

Verastigui standing clothed in a very similar position as the image he sent to S-1. Your affiant

reviewed the image posted on Verastigui’s Instagram account and observed the sink countertop

and faucet matched colors matched. Your affiant further observed Verastigui was holding a phone

with a grey colored case in his right hand and there is a picture leaning up against the wall in the

same location in as the image sent to S-1. The picture leaning on the wall appears to be identical.

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12.    On or about February 5, 2021, HSI Special Agents along with other law enforcement

personnel executed a Federal search and seizure warrant at Verastigui’s residence located at

Florida Avenue NE Washington, DC. During a forensic preview of Verastigui’s cellular phone,

HSI located several files of child pornography and also located the Application A group chat. Your

affiant viewed these files and determined the files depict child pornography as defined by federal

statute. For example, your affiant discovered files that were received by Verastigui in the

Application A chat in April of 2020. At least two of these videos depicted an infant toddler being

anally raped by an adult male.

13.    During the search warrant execution, a tattoo that appears to match the tattoo described

previously in the affidavit was located on Verastigui’s left forearm.

14.    During the above described search warrant execution, Verastigui agreed to speak to law

enforcement agents after he was advised of his Miranda rights. During this interview Verastigui

(DOB           /1993) admitted that he used the username Landon and that he had been part of the

group on Application A and had received child pornography during the time he was a part of that

group. The Application A chat revealed that Verastigui was active in the group the week prior to

the search warrant execution.




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                                     III. CONCLUSION

15.    Based on the foregoing, there is probable cause to believe that Ruben A. Verastigui has

violated 18 U.S.C. §§ 2252A(a)(2) (receipt of child pornography) and 2252A(a)(5)(B) (possession

of child pornography).

                                            Respectfully submitted,




                                            Raymond Abruzzese
                                            HSI Special Agent

Subscribed and sworn to before in accordance with the requirements of Fed. R. Crim. P.
4.1 by electronic reliable means, by telephone, this 5 th day of February, 2021.

                                                               Digitally signed
                                                               by G. Michael
                                                               Harvey
                                            _________________________________________
                                            G. MICHAEL HARVEY,
                                            UNITED STATES MAGISTRATE JUDGE




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